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                                                                      DOCL~.lEN'f
UNITED STA TES DISTRICT COURT                                         ELECTRC>1\JJCt\l J.Y FlI F!)
SOUTHERN DISTRICT OF NEW YORK                                         DOC#:
------------------------------------------------------------X
PAMELA WILLIAMS, on behalf of himself and                            IDi\:ri_1~1 Uy, JLT!f~Q         !!
all others similarly situated,
                               Plaintiff,
                -against-                                                  20   CIVIL 4565

                                                                           JUDGMENT
JOBE SPORTS USA. INC ..
                                   Defendant.
-----------------------------------------------------------X



         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 6, 2020, and pursuant to Federal Rule of Civil

Procedure 41 (a)(l)(A)(ii), Plaintiff Pamela Williams and Defendant Jobe Sports USA. Inc., by

and through undersigned counsel, have stipulated that this action and all claims and defenses

asserted therein be dismissed with prejudice. Each party shall bear their own attorneys' fees,

costs, and disbursements. Judgment is hereby entered.

Dated: New York, New York
       November 9, 2020




                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:

                                                                     ~
